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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

JERRALE MARTIN,

 

Plaintiff

v. No. 1202-1204 Bre-P

CORRECTIONS CORPORATION
OF AMERICA, et al.,

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Defendants

 

AGREED ORDER HOLDING DEADLINES IN ABEYANCE

 

lt appears to the satisfaction of the Court that the parties have agreed, as
evidenced by the signatures of counsel for all parties beloW, that all deadlines be held in
abeyance until after a scheduled Status Conference on June 24, 2005. This matter being
agreeable With the Court, it is hereby,

ORDERED, that all current deadlines are held in abeyance until after the

scheduled Status Conference on June 24, 2005.

Dated;rhisj day er Uovu; ,2005.

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JA’MES I. PENTECosT

BRANDON O. GIBSON

PENTECOST, GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackscn, Tennessee 38305

ROBERT J. WALKER

MARK TIPPS

JOSEPH WELBORN

WALKER, BRYANT, TIPPS & MALONE
2300 One Nashville Place

WAYNE A. RITC/HIE,/il’
ROBERT W. RITCHIE HMR
RITCHIE, FELS & DILLARD

P.O. Box 1126
Knoxville, Tennessee 37901 -1 126

W. GASTON FAIREY

W. GASTON FAIREY, LLC
1722 Main Street, Suite 300
Columbia, South Carolina 29201

150 Fourth Avenue North COUNSEL FOR PLAINTIFF
Nashville, TN 37219-2424
COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

 

l certify that a copy of the foregoing has been served by U.S. mail upon Wayne
A. Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126,
Knoxville, TN 37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300,

Columbia, sc 29201 on June@#l , 2005.

PENTECOST, GLENN & RUDD, PLLC

By: %/M% U%£/ih /

J ames I. Pentecost (#01 1640)
Brandon O. Gibson (#21485)
Attorneys for Defendants

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 50 in
case 1:02-CV-01204 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

.l ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Joseph F. Welborn

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

J. Mark Tipps

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

K. Michelle Booth

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jacl<son7 TN 38305

Robert J. Walker

WALKER BRYANT TIPPS & MALONE
150 Fourth Ave.7 N.

Ste. 2300

Nashville, TN 37219

Wayne A. Ritchie

RITCH[E FELS & DILLARD, P.C.
606 W. Main St.

Ste. 300

Knoxville7 TN 37901--112

Honorable J. Breen
US DISTRICT COURT

